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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA
                                 FLORENCE DIVISION


UNITED STATES OF AMERICA                                    )                 No. 94 CR 383
                                                            )
v.                                                          )            Hon. R Bryan Harwell
                                                            )
ALBERT DELON REED, JR.                                      )




       ALBERT REED JR.’S MOTION FOR IMPOSITION OF A REDUCED
      SENTENCE PURSUANT TO SECTION 404 OF THE FIRST STEP ACT
               AND REQUEST FOR EXPEDITED BRIEFING

               “I believe that everybody pretty well agrees that Congress made a mistake when they decided
               that crack cocaine should be treated a hundred times more seriously than powder cocaine. . . . It
               would be unfair to all the hundreds of people that have been sentenced under that law [ ] not to
               go back and correct those sentences. . . You shouldn’t have people serving time that is unfair
               and improper.”

                                    − District Judge C. W. Houck at the sentencing of Albert Reed

       Defendant ALBERT REED has served 24 years of a mandatory life sentence. At age

49, Mr. Reed has been imprisoned for over half of his life. His crime: He sold 193.4 grams of

crack to a confidential informant. 1 The government filed a mandatory life enhancement

pursuant to 21 U.S.C. § 851, maintaining Mr. Reed’s federal case was his third strike. The

sentencing court vocally disagreed with a life sentence, but it was required to impose the

“unfair and improper” penalty.

       Our nation’s crack laws have changed significantly during Mr. Reed’s 24 years of


 1
        Mr. Reed was also convicted of selling 886.6 grams of marijuana to the informant. However,
 the marijuana distribution is not the basis for his mandatory life sentence pursuant to 21 U.S.C. §
 851.


                                                      1
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incarceration. Most recently, Section 404 of the FIRST STEP Act of 2018 authorized district

courts to reduce sentences for crack convictions where the statutory penalty provisions of the

Fair Sentencing Act (FSA) would have applied had the FSA been in effect at the time of the

original sentencing.

       And, too, Mr. Reed has changed significantly over the years. Orphaned by age 14, Mr.

Reed spent his formative years committing small-time drug offenses to fend for himself and

his sisters. He has no violent convictions and does not deserve permanent banishment.

Indeed, he is a trusted prisoner who BOP staff describe as “never a source of concern.” 2 Mr.

Reed has sound family support and a job waiting on him upon his release from incarceration.

       For these reasons, and as further explained below, DEFENDANT ALBERT REED,

by his counsel MIANGEL CODY and DAVID SIMPKINS, respectfully moves that his life

sentence be reduced to 330 months’ imprisonment (time served) pursuant to Section 404 of

the First Step Act.

                                    I. APPLICABLE LAW

       A.     The Fair Sentencing Act of 2010

       Prior to the Fair Sentencing Act of 2010 (FSA), an offense involving 50 grams or more

of crack cocaine triggered a 10-year mandatory minimum and a statutory maximum of life

imprisonment. An offense involving 5 to 49.9 grams of crack cocaine triggered a 5-year

minimum sentence and a statutory maximum of 40 years of imprisonment. Dorsey v. United

States, 567 U.S. 260, 266 (2012).




2
       See BOP UNICOR work recommendation and Inmate Education Data Transcript, attached as
Exhibit A.
                                          2
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       Section 2 of the FSA amended § 841(b)(1)(A)(iii) by striking “50 grams” and inserting

“280 grams” and amended § 841(b)(1)(B)(iii) by striking “5 grams” and inserting “28 grams”.

Public Law 111-220; 124 Stat. 2372, § 2. Accordingly, post-FSA, it takes 280 grams of crack

cocaine to trigger § 841(b)(1)(A)(iii)’s 10-year mandatory minimum and 28 grams to trigger §

841(b)(1)(B)(iii)’s 5-year mandatory minimum. Dorsey, 567 U.S. at 269. The Supreme Court

determined the FSA applied to any defendant who had not been sentenced as of the Act’s

effective date: August 3, 2010. Id. at 281. The FSA did not apply retroactively to defendants

sentenced prior to August 3, 2010. Id.



       B.      The First Step Act of 2018

       The First Step Act of 2018 legislatively authorized district courts to reduce pre-FSA

crack penalties retroactively for “covered offense[s]”. Specifically, § 404(a) of the First Step Act

defines a covered offense as “a violation of a Federal criminal statute, the statutory penalties

for which were modified by section 2 or 3 of the Fair Sentencing Act of 2010 (Public Law 111-

220; 124 Stat. 2372), 3 that was committed before August 3, 2010.” Section 404(b) then states:

“[a] court that imposed a sentence for a covered offense may, on motion of the defendant, the

Director of the Bureau of Prisons, the attorney for the Government, or the court impose a

reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 (Public Law 111-

220; 124 Stat. 2372) were in effect at the time the covered offense was committed.” 4


3
       Section 3 of the FSA eliminated the mandatory sentence for simple possession of crack cocaine
in 21 U.S.C. § 844(a).
4
        There are only two limitations to the Court’s ability to impose a reduced sentence. First, the
defendant cannot receive a reduced sentence if the sentence was imposed or previously reduced in
accordance with the amendment made by sections 2 and 3 of the FSA. Second, if the Court has already
rejected a motion filed under § 404 of the Fair Sentencing Act “after a complete review of the motion
                                                    3
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                                         II. DISCUSSION

A.     Albert Reed is eligible for a reduced sentence under Section 404.

       Albert Reed was charged by a single-count Indictment of knowingly distributing

cocaine base (193.4 grams) and marijuana (886.6 grams) on August 3, 1994. On December 29,

1994, the government filed a three-strikes enhancement pursuant to 21 U.S.C. § 851. On

January 11, 1995, a jury found Mr. Reed guilty. At sentencing, District Judge C. W. Houck

reluctantly imposed a mandatory life sentence stating: “If Congress changes the law … my

inclination would be to come back and re-do those sentences.” Sent. Tr. at 62. The Fourth

Circuit Court of Appeals affirmed Mr. Reed’s conviction and sentence on November 1, 1996.

United States v. Reed, 100 F.3d 951 (4th Cir. 1996).

       Remarkably, Mr. Reed’s first two predicate strikes were relatively minor convictions.

His first strike occurred when Reed was just 19 years old and sold a $10 bag of crack. His

second strike occurred at age 22 when Reed was arrested for 81 grams of cocaine. Prior to his

mandatory life sentence, Mr. Reed’s longest incarceration was approximately two years in jail.

       Section 404 of the FIRST STEP Act of 2018 independently authorizes a district court

to impose a reduced sentence for crack convictions where the statutory penalty provisions of

the Fair Sentencing Act would have applied had the Act been in effect at the time of the

original sentencing. Since Mr. Reed’s offense was committed before August 3, 2010, it is a

covered offense as defined in § 404(a) of the First Step Act and the Court may “impose a

reduced sentence as if sections 2 and 3 of the Fair Sentencing Act of 2010 (Public Law 111-

220; 124 Stat. 2372) were in effect at the time the covered offense was committed.”


on the merits” the defendant cannot ask for a second bite at the apple. First Step Act § 404(c). Neither
exception applies to Mr. Reed’s case, as he has never received or been denied a Section 404 reduction.

                                                   4
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           Accordingly, Mr. Reed is eligible for a sentence reduction pursuant to the First Step

Act. The question, then, is to what extent the Court should reduce Mr. Reed’s sentence.


           B.        The Court should impose a reduced sentence of 330 months
                     imprisonment (time served) on Count 1 of the Indictment.

           Per the original PSR, Mr. Reed was found to be a career offender, which increased

his total offense level to 37 and his criminal history category to VI. PSR at ¶27. Under the

current guidelines manual, Mr. Reed remains a career offender pursuant to U.S.S.G. §4B1.1.

His total offense level remains 37 and his criminal history category is VI, resulting in a

guideline range of 360 months to life.

           Mr. Reed seeks a sentence reduction that is only slightly below the advisory career

offender guideline. Mr. Reed has been in custody since August 4, 1994. He has served

approximately 295 months of actual custody. With good-time credit, Mr. Reed has

credit for approximately 330 months’ incarceration. He respectfully requests that his

sentence be reduced to 330 months’ (time served) imprisonment for two reasons.

           First, there is a significant “need to avoid unwarranted sentencing disparities” in this

case. See 18 U.S.C. § 3553(a). Though the career offender guideline technically applies, Mr.

Reed is not a heartland career offender. Congress intended the career offender guideline to

assure “substantial prison terms should be imposed on repeat violent offenders and repeat

drug traffickers.” 5 The U.S. Sentencing Commission created the career offender guideline (§

4B1.1) in response to a congressional directive to punish the worst of the worst “at or near

the maximum term authorized.” 6 To be deemed a career offender, the defendant must have



5   S. Rep. No. 225, 98th Cong., 1st Sess. 175 (1983).
6   See 28 U.S.C. § 994(h) (1984).
                                                         5
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at least two prior felony convictions for violence or drug trafficking. The base offense level

for career offenders is keyed to the statutory maximum punishment for the federal crime of

conviction. 7 Career offenders automatically receive a criminal history category of VI—the

highest category—no matter how many criminal history points they may otherwise

possess. 8 Thus, according to the legislative history and application notes to § 4B1.1, the

express “heartland” of career offenders are “repeat violent offenders and repeat drug

traffickers.”

           Here, Mr. Reed has never been charged or convicted of any violent offense. He is

subject to the career offender guideline purely by operation of two, relatively minor drug

convictions. At age 19, he sold a $10 bag of crack. At age 22, he was arrested with 81

grams of cocaine. He is hardly the incorrigible “heartland” career offender that the

guidelines intended to punish most harshly. Comparably, Mr. Reed’s guidelines would be

considerably lower if he were not classified as a career offender. He would receive an

offense level 26 under the drug table guideline, and he would fall into criminal history

category IV, resulting in a guideline range of 92 to 115 months. Mr. Reed has already served

24 years’ imprisonment for his 193-gram, single count crack offense – a hefty penalty that

far outpaces the heartland sentence in similar crack offenses the Court often sees.

           Second, Mr. Reed’s history and characteristics also favor a sentence reduction. Per

the PSR, Mr. Reed grew up without a father or mother figure. Both of Mr. Reed’s parents

had died of cancer by his teenage years. PSR at ¶ 33. He made an errant decision to sell

small quantities of crack to support himself and his sisters – who were orphaned by the



7   See USSG § 4B1.1.
8   Id.
                                                   6
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death of their parents and left with no support. Mr. Reed briefly attended college, but was

unable to continue. In his letter, Mr. Reed describes the circumstances of his life. He

includes a 1976 news article that features his family and discusses the impoverished

conditions his family faced after his father’s death. 9

       Even with no certainty of release, Mr. Reed has not wasted his 24 years of

incarceration. He was one of a limited number of prisoners selected for the federal prison’s

UNICOR work program. 10 According to the BOP, there are approximately 25,000 inmates

on the waiting list to work in UNICOR, and only 8% of work-eligible inmates participate in

the program. 11 A BOP study found that “[i]nmates who participated in UNICOR were

24% less likely to revert to criminal behavior as much as 12 years following release and 14%

more likely to be gainfully employed following release from prison.” 12 Mr. Reed has

received UNICOR Special Achievement Awards and wage bonuses for his “outstanding”

work performance and contributions and BOP staff report he is “never a source of

concern.” In short, Mr. Reed has proven to the very people charged with his incarceration

that he deserves release.




9
         Letter from Albert Reed attached as Exhibit B.
10
         The Bureau of Prisons describes its UNICOR prisoner-to-work program as follows:
“UNICOR is the trade name for Federal Prison Industries (FPI): a wholly owned, self-sustaining
Government corporation that sells market-priced services and quality goods made by inmates. But
more importantly, it's also a vital correctional program that assists offenders in learning the skills
necessary to successfully transition from convicted criminals to a law-abiding, contributing members of
society. UNICOR benefits everyone.” Available at
https://www.bop.gov/inmates/custody_and_care/unicor.jsp (last visited Feb. 28, 2019).
11
         See Overview of UNICOR Program, available at
https://www.bop.gov/inmates/custody_and_care/unicor_about.jsp (last visited Feb. 28, 2019).
12
         Id.
                                                      7
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       In addition, Mr. Reed has a sound reentry plan, a loving and hardworking, middle-

class family and a job waiting for him upon his release. He intends to live with his sister

Janine Jackson-Davis in Gaithersburg, Maryland. 13 Ms. Jackson-Davis is an elementary

school counselor who owns her own home. Ms. Jackson-Davis reports that her family has

“space in our home and our hearts for my brother.” In her attached letter, Ms. Jackson-

Davis describes her family life as one that “functions by way of structure, rules, routines,

high standards and expectations. We believe in hard work, service and spending time

together.” In addition, Mr. Reed has a guaranteed job upon his release. Mr. Jackson-

Davis’s husband is a Montgomery, Maryland county employee who owns his own cleaning

business. Mr. Reed will work in the family business if he is released from prison. In short,

the advice of the Guidelines and the Sentencing Reform Act comports with what Mr. Reed

has proven by his own conduct and the statements of BOP officials who attest to his

character: a sentence of life in prison is “greater than necessary” to meet the parsimonious



13
        Ms. Janine Jackson-Davis’s letter of support and Mr. Reed’s reentry program acceptance letter
are attached as Exhibit C.
                                                   8
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purposes of federal sentencing. On these particular facts, for this particular defendant, and

this particular community reentry plan, the defense asks the Court to reduce Mr. Reed’s life

sentence to 330 months.

                                   III.    CONCLUSION

       WHEREFORE Section 404 grants the district court explicit discretion to reduce

sentences imposed under the excessively-harsh penalty structure that Congress has now

renounced. Defendant Albert Reed has certainly earned such a reduction, and he

respectfully asks that the Court reduce his life sentence to 330 months (time served).

       If the Court requires briefing on this motion, Mr. Reed respectfully requests that the

briefing be ordered expedited.

                                                                       Respectfully submitted,

                                                                           /s/ David Simpkins
                                                                               David Simpkins

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                                                                 Tel: (704) 338-5287
                                                                 Fax: (704) 371-6416

                                                                            /s/ MiAngel Cody
                                                                           MIANGEL CODY
                                                                         ( Pro Hac Vice pending)

                                                    THE DECARCERATION COLLECTIVE
                                                                           LAW OFFICE
                                                             1325 S. Wabash St., Suite 305
                                                                       Chicago, IL 60605
                                                                      Tel: (312) 858-8333
                                                                      Fax: (312) 858-8334

                                                                        Attorneys for Albert Reed


                                                9
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                            CERTIFICATE OF SERVICE


The undersigned, David Simpkins, an attorney hereby certifies that on March 18, 2019,
I electronically filed the following with the Clerk of the Court using the CM/ECF
system:




      ALBERT REED JR.’S MOTION FOR IMPOSITION OF A REDUCED
     SENTENCE PURSUANT TO SECTION 404 OF THE FIRST STEP ACT
              AND REQUEST FOR EXPEDITED BRIEFING



                                                                    /s/ David Simpkins
                                                                    DAVID SIMPKINS

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                                                       Attorney for Albert Delon Reed, Jr.




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    EXHIBT A: BOP Awards and Inmate
        Education Transcript
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       EXHIBT B: Letter from Albert Reed
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EXHIBIT C: Reentry Support Letter from
  Janine Jackson-Davis (Mr. Reed’s Sister)
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                                                       18803 Impulse Lane
                                                       Gaithersburg, MD 20879
                                                       March 3, 2019




Re: Albert D. Reed (90558-071)


To whom it may concern:

       My name is Janine Jackson, and I am Albert’s older sister who affectionately
calls him Al. I am 53 years old and our younger sister is 48 years old. Both of our
Parents and Grand-parents are deceased and it’s just us three for over 30 years.

       I am writing to sincerely ask that you grant Al a sentence reduction to time
served, inform you of who I am, and my commitment to provide the utmost support that
will ensure Al a sound foundational re-entry and transition plan.

      Here’s what you should know about me, how I live my life, my accomplishments
and my regard for family. My family functions by way of structure, rules, routines, high
standards and expectations. We believe in hard work, service and spending time
together. I am married and have two teenagers. I embody “hope” in every aspect,
personal and professional. I have a M.Ed.; I hold a National Board Certified Counselor
license (NBCC). I’m employed as a full-time Counselor with Montgomery County
Public Schools, Maryland. In addition to my full-time employment, by June of this year,
I plan to work part-time providing private therapy, specializing in assisting children and
adults heal from a traumatic experience. It is my passion to support mental well-being.

      Please imagine how elated I and my family are over the prospect of having Al
come home. We held a family meeting and discussed all we would do to welcome Al
into our home. I love my brother. It’s important you know what Al’s homecoming means
to me and my family. It means more than words can express. It means my kids being
able to spend time with an Uncle they only heard of. Jared, a high school senior, will
attend college in the fall with plans to become a screenwriter. Jurnee, a high school
sophomore, Girl Scout, avid Tennis & Softball player. Both kiddos love their uncle Al
and are looking forward to him coming home.

     My home is Al’s home. I own a single family house in a quaint neighborhood. Al
would occupy his own bedroom, personal bathroom, and small office space inside my
home. As mentioned, I am married and my husband is employed with Montgomery
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County Government, Street Outreach Network. His responsibilities include working
with youth in the County to prevent and reduce gang and other hostile behaviors
among kids. He is also a Basketball Official for the County’s Public and Private
Schools. In addition to that, he owns and operates a cleaning business. The prospect
of employment for Al is guaranteed by my husband. Please understand that we
guarantee Al a safe and stable family that includes love, a home, emotional/social
supports, and immediate guaranteed employment.

      It is with great hope that you accept this letter of earnest support and factor it in
your decision making process. Please know that a decision to grant Al release,
returning him into society, into my home would be positively meaningful for us all in
every possible way.

      Please, if there is anything or other information that I could offer in this decision
making process, do not hesitate to contact me. I hope I was able to convey how much
it would mean to the myself and our family to have Al home with us.



Sincerely,




Janine Jackson-Davis
301-518-0380 (mobile)
301-519-7527 (home)
301-601-4350 (work)

P.S. An attached duplicate of this letter is handwritten on subject note paper, paper
that’s easily accessible to educators. Really, who still writes on fancy stationery
anyway?
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